        Case 1:20-cv-10523-DLC Document 40 Filed 06/11/20 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                          CIVIL ACTION NO. 1:20-cv-10523-DLC

JOHN R. WADE, III, SHARON WADE, )
JOHN WADE, IV, and TAYLOR WADE )
            Plaintiffs             )
                                   )
       vs.                         )
TRI-WIRE EMPLOYEE STOCK            )
OPTON TRUST, SCOTT PERRY,          )
ROBERT R. NEWELL, ROBERT           )
LANDRY, DAVID GESMONDI,            )
CAPITAL TRUSTEES, LLC,             )
SPINNAKER TRUST, ROBERT GOULD)
JEANINE PEDERGAST, EMPIRE          )
VALUATION CONSULTANTS, LLC, )
SES WINDING UP CORPORATION         )
f/k/a SES ADVISORS, INC., SES ESOP )
STRATEGIES, LLC, as successor to   )
SES ADVISORS, INC., BELLMARK       )
PARTNERS, LLC, JOHN MARSH,         )
LORI WENETTA and RUBEN KLEIN, )
            Defendants             )

                                NOTICE OF APPEARANCE


TO THE CLERK OF THE UNITED STATES DISTRICT COURT:

       Please enter my appearance as attorney for the Defendant, Capital Trustees, LLC, in

the above-entitled action.
        Case 1:20-cv-10523-DLC Document 40 Filed 06/11/20 Page 2 of 3




DEFENDANT,
By Its Attorney,


 /s/ Conrad J. Bletzer, Jr.
____________________________
Conrad J. Bletzer, Jr. (BBO# 045760)
Bletzer & Bletzer, PC
300 Market Street
Brighton, MA 02135
(617) 254-8900

Dated: June 11, 2020
        Case 1:20-cv-10523-DLC Document 40 Filed 06/11/20 Page 3 of 3



                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing document has been served upon all
counsel of record, this 11th day of June, 2020, via the Court’s electronic ECF filing system.




                                                       /s/ Conrad J. Bletzer, Jr.
                                                     ________________________
                                                     Conrad J. Bletzer, Jr.
